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FILED

IN THE UNITED STATES DISTRICT COURT NOV 08 2021
FOR THE NORTHERN DISTRICT OF OKLAHOMA Mark C. McCartt, Clerk

U.S. DISTRICT GOURT

UNITED STATES OF AMERICA,
Plaintiff,

v. Case No. 21-CR-00102-CVE

LUIS ALFREDO JACOBO,

 

Defendant.
Protective Order

Upon the unopposed motion of the United States for a protective order (DKt.
#141), the Court is fully advised as to the nature of this case and the applicability of
Rule 6(e) of the Federal Rules of Criminal Procedure to certain materials requested by
the Defendant. The Court finds that the government must provide discovery and
investigative materials, to include grand jury matters, for purposes of the trial of the
above-captioned case. The Court further finds that these materials include matters
relating to confidential informants and cooperating witnesses and that dissemination
of these materials may create safety concerns for the confidential informants and

cooperating witnesses. Accordingly, the Court issues this protective order as follows:
IT IS HEREBY ORDERED that the Government attorneys are protected if

they disclose to counsel for the above, prior to trial, grand jury and other investigative
materials that must be disclosed under normal circumstances pursuant to the dictates
of the Jencks Act, 18 U.S.C. § 3500; Fed. R. Crim. P. 16; United States v. Giglio, 405

U.S. 150 (1972); and Brady v. Maryland, 373 U.S. 83 (1963).
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IT IS FURTHER ORDERED that the government provide grand jury and
other investigative materials for purposes of the trial of the above-captioned case; and
that they are not to be disseminated for any other purpose. The Court prohibits the
defense from showing discovery and investigative materials produced by the
government to anyone with the exception of the Defendant, attorney of record in this
case, and those persons employed by the attorney who are necessary to assist counsel
of record in preparation for trial. As a general matter, defense counsel shall not
reproduce the discovery or investigative materials for dissemination to any persons or
parties, including the Defendant, except for those persons employed by the attorney
who are necessary to assist counsel of record in preparation for trial, and shall maintain
complete custody and control over them, including all copies. The attorney for the
Defendant and the Defendant are bound by the secrecy in reference to dissemination
of discovery and other investigative materials, to include grand jury materials. There
is nothing in the Court’s order to prohibit counsel from discussing the case with co-
counsel.

IT IS FURTHER ORDERED that the government shall provide discovery and

investigative materials to defense counsel without redaction.
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IT IS FURTHER ORDERED that defense counsel is prohibited from sharing
un-redacted copies of discovery and investigative materials with the defendant or
others outside the defense team, meaning defense counsel shall not provide or give
copies of discovery or investigative materials provided by the government to the
defendant. Defense counsel may facilitate the defendant’s review of these materials by
allowing the defendant to review copies of these materials during attorney-client visits.
Under no circumstances shall a defendant be allowed to keep or maintain a copy of

these materials.

 

SUSAN E HUNTSMAN
UNITED STATES MAGISTRATE JUDGE

Dated: [lal

Presented by:

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